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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    INTERNATIONAL NEWS INC.,                            CASE NO. C18-0302-JCC
10                            Plaintiff,                  MINUTE ORDER
11           v.

12    10 DEEP CLOTHING INC.,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ stipulated motion to further extend
18   certain deadlines (Dkt. No. 159). The Court, having considered the record and finding good
19   cause, hereby GRANTS the motion. Relevant deadlines are extended as follows:
20          1. The deadline for Defendant to file its opposition to Plaintiff’s motion for entry of
21                judgment pursuant to Fed. R. Civ. P. 54(b) (Dkt. No. 121) is extended to December
22                17, 2021;
23          2. The deadline for Plaintiff to file a reply in further support of its motion is extended to
24                December 31, 2021; and
25          3. The Clerk is DIRECTED to renote Plaintiff’s motion for entry of judgment (Dkt. No.
26                121) to December 31, 2021.


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 1           DATED this 24th day of November 2021.

 2
                                                     Ravi Subramanian
 3                                                   Clerk of Court
 4
                                                     s/Sandra Rawski
 5                                                   Deputy Clerk

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